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 2     & ASSOCIATES, P.L.C.
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 3    Los Angeles, CA 90013
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 5
      Attorney for Defendant Haitham Habash (#1)
 6
 7
 8                             IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                    )   Case No. 1:15-cr-0286-DAD-BAM-1
                                                   )
12                      Plaintiff,                 )   REQUEST FOR RULE 43 WAIVER OF
                                                   )   APPEARANCE FOR DEFENDANT;
13    vs.                                          )   [PROPOSED] ORDER THEREON
                                                   )
14    HABASH et al.,                               )
                                                   )
15    HAITHAM HABASH (#1),                         )
                                                   )
16                      Defendant.                 )
                                                   )
17
             Pursuant to Federal Rule of Criminal Procedure 43(b)(3), Defendant, Haitham Habash,
18
      having been advised of his right to be present at all stages of the proceedings, hereby requests
19
      that this Court proceed in his absence on every occasion that the Court may permit, pursuant to
20
      this waiver. Defendant agrees that his interests shall be represented at all times by the presence
21
      of his attorney, Shaun Khojayan, the same as if Defendant were personally present, and requests
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      that this Court allow his attorney-in-fact to represent his interests at all times. Defendant further
23
      agrees that notice to Defendant’s attorney that Defendant’s presence is required will be deemed
24
      notice to the Defendant of the requirement of his appearance at said time and place.
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26
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 1             Defendant resides in Los Angeles, CA and must travel for approximately four hours each

 2    way in order to appear in court. It is a hardship for Defendant to appear at court appearances

 3    for this reason. Defendant understands that he will need to be present at any hearing involving

 4    any substantive issue. Defendant respectfully requests that the Court waive his appearance at all

 5    future non-substantive hearings.

 6
 7
 8             DATED: January 26, 2016                     /s/ Haitham Habash
                                                           Haitham Habash
 9
10             DATED: January 26, 2016                     /s/ Shaun Khojayan
                                                           Shaun Khojayan
11                                                         Attorney for Defendant Habash

12
13
14                                               ORDER
15             GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s Haitham
16    Eid Habash appearance may be waived at any and all non-substantive proceedings until further

17    order.

18
19    IT IS SO ORDERED.

20
          Dated:        January 27, 2017                      /s/ Barbara A. McAuliffe                 _
21                                                      UNITED STATES MAGISTRATE JUDGE
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       Haitham / Rule 43 Waiver                      -2-
